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                                             UNITED STATES DISTRICT COURT

                                             NORTHERN DISTRICT OF ILLINOIS


             SPENCER ROLAND BUENO, Individually )                Case No. 1:18-cv-02435
             and on Behalf of All Others Similarly Situated, )
                                                             )   CLASS ACTION
                                          Plaintiff,         )
                                                             )   The Honorable Manish S. Shah
                    vs.                                      )
                                                             )
             CBOE GLOBAL MARKETS, INC., et al.,              )
                                                             )
                                          Defendants.
                                                             )
                                                             )



                                    SUPPLEMENTAL CERTIFICATION OF
                          NAMED PLAINTIFF PURSUANT TO FEDERAL SECURITIES LAWS




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                     SPENCER R. BUENO (“Plaintiff”) declares:

                     Plaintiff hereby amends paragraph 4 of his Certification of Named Plaintiff Pursuant to

             Federal Securities Laws, dated April 4, 2018, previously filed with the Court, as follows:

                     4.       In addition to the transactions previously identified, plaintiff has made transactions in

             securities that are the subject of the complaint during the Class Period consisting of 2.97 million

             shares/contracts for a total value of approximately $76.7 million as set forth in the chart below.

             These transactions consist of exchange traded products and option contracts on shares of such

             products whose value is linked to VIX, and option contracts based on the S&P 500.

                           Year                      Total Shares/Contracts                   Dollar Value
                           2010                             660,044                           $19,253,000
                           2011                             978,720                           $37,971,915
                           2012                              28,115                             $987,188
                           2013                              24,600                            $1,174,069
                           2014                             229,027                            $9,725,298
                           2015                              69,700                            $2,800,301
                           2016                             106,981                            $4,651,463
                           2017                               117                                $88,321

                     I declare under penalty of perjury that the foregoing is true and correct. Executed this ____

             day of May, 2018.
            1st Day of June
            2018

                                                                              SPENCER R. BUENO

                                                                          6/1/2018 11:16:15 AM PDT




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